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 1
                         UNITED STATES DISTRICT COURT
 2                      CENTRAL DISTRICT OF CALIFORNIA
 3                                              8:17-cv-00838-JLS-JDE
 4
                                                Related Cases:
 5                                              8:17-cv-01365-JLS-JDE
 6                                              8:17-cv-02208-JLS-JDE
      In re: Hyundai and Kia Engine             2:18-cv-05255-JLS-JDE
 7
      Litigation                                8:18-cv-00622-JLS-JDE
 8                                              8:18-cv-02223-JLS-JDE
 9
                                                SUPPLEMENTAL DECLARATION
10                                              OF ADAM GONNELLI IN
11                                              SUPPORT OF FINAL APPROVAL
                                                OF CLASS SETTLEMENT
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     SUPPLEMENTAL DECLARATION OF ADAM GONNELLI IN SUPPORT OF FINAL APPROVAL OF CLASS
     SETTLEMENT Case No.: 8:17-cv-00838
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 1          1.    My name is Adam Gonnelli, one of the Class Counsel in this case.
 2          2.    On October 16, 2020 I submitted a declaration in support of Plaintiffs’
 3   motion for final approval of the proposed settlement. The October 16 declaration
 4   contained the data on the claims process as of the middle of September.
 5          3.    The purpose of this declaration is to provide updated claims data through
 6   the end of October.
 7          4.    I received the following information from defendants and from Epiq, Kia
 8   Motors America’s claims administrator.
 9          5.    The number of claims submitted by Class Members has more than
10   doubled since mid-September.
11          6.    As of September 16, 2020, Hyundai Class members had submitted 15,681
12   claims. By October 30, 2020, that number had increased to 29,394 claims.
13          7.    As of September 18, 2020, Kia Class Members had submitted 12,079
14   claims. By October 28, 2020, that number had increased to 35,298 claims.
15          8.    The following chart updates the data from paragraphs 23 and 24 of the
16   October 16 declaration and lists (i) the number of new claims by type; and (ii) face
17   value totals as of October 28, 2020 for Hyundai and November 1, 2020 for Kia.
18                                          Hyundai
19                               New Claims                           Total Face Value
            Claim Type                                Total Claims
20                           (Sept. 16 to Oct. 28)                       of Claims
      Past repairs1                         6,595              14,700       $23,793,434
21
      Repair delays                           1,441             2,588            $433,525
22
      Towing/rentals etc.                     2,692             5,800           $5,155,691
23
      Trade-in/sales2                         1,277             2,821            $394,940
24
      Engine fire2                             484              1,073            $150,220
25
      Lost faith (rebate)                     1,224             2,412            not avail.
26
      Totals:                               13,713             29,394          $29,927,810
27
28      1
          Includes dealer repairs, third party repairs and related goodwill payments.
        2
          Includes only $140 goodwill payment. Actual claim values not yet determined.
                                                1
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 1
 2                                               Kia
 3                                     New Claims                            Total Face
              Claim Type                                    Total Claims
 4                                  (Sept. 18 to Nov. 1)                   Value of Claims
     Past repairs3                                7,580             12,480     $23,711,944
 5
     Repair delays                                 2,600             4,090           $204,500
 6
     Towing/rentals etc.                           4,615             7,579         $6,271,617
 7
     Trade-In/Sales4                               2,851             4,521           $632,940
 8
     Engine Fire4                                  1,146             1,880           $263,200
 9
     Lost Faith (rebate)                           2,937             4,748           not avail.
10
     Totals:                                      19,438            35,298        $31,084,201
11
12
             9.      In addition, the parties can report that so far for Hyundai Class Members:
13
     141 claims have been denied because the claimants’ vehicle was not a Class Vehicle
14
     or the claim was otherwise unrelated to the proposed settlement; 283 claims have been
15
     denied because they were duplicative of other claims; and 70 claims were withdrawn
16
     by the claimant.
17
             10.     For Kia, so far 147 claims have been denied because the claimants’
18
     vehicle was not a Class Vehicle or the claim was otherwise unrelated to the proposed
19
     settlement and 147 claims have been denied because they were duplicative of other
20
     claims.
21
             11.     These denials do not materially affect the estimate of the settlement’s
22
     value. See Summary Table, Supplemental Expert Report of Susan Thompson at 5.
23
             12.     The denials described above do not, however, include preliminary
24
     denials based on lack of documentation. Class Counsel has been receiving copies of
25
     denials, are reviewing them, and are working with Class Members to ensure denials
26
27
         3
          Includes dealer repairs, third party repairs and related goodwill payments.
28      4
          Includes only $140 goodwill payment. Actual claim values have not yet been
     determined.
                                                   2
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 1   are justified. Class Counsel will continue to do so throughout the claims
 2   administration process.
 3       13.     With respect to the KSDS installation, between September 21, 2020 and
 4   November 2, 2020 an additional 19,248 Kia Class Members had the KSDS installed.
 5   The total as of November 2, 2020 was 1,284,119, which represented 74.3% of Kia
 6   Class Vehicles.
 7       14.     With respect to Hyundai, between September 16, 2020 and October 30,
 8   2020 an additional 65,936 Hyundai Class Members had the KSDS installed. The total
 9   as of October 30, 2020 was 1,725,274 which represented 77.4% of Hyundai Class
10   Vehicles.
11         I state under penalty of perjury that the above statements are true.
12   Dated this day of November 6, 2020.
13
14
                                            Adam Gonnelli
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     SUPPLEMENTAL DECLARATION OF ADAM GONNELLI IN SUPPORT OF FINAL APPROVAL OF CLASS
     SETTLEMENT Case No.: 8:17-cv-00838
